



















NO. 07-11-00170-CV

&nbsp;

IN THE COURT OF APPEALS

&nbsp;

FOR THE
SEVENTH DISTRICT OF TEXAS

&nbsp;

AT
AMARILLO

&nbsp;

PANEL A

&nbsp;



MAY
20, 2011

&nbsp;



&nbsp;

RICKY W. TURNER, APPELLANT

&nbsp;

v.

&nbsp;

ARLIE FOX, ET. AL, APPELLEES 



&nbsp;



&nbsp;

&nbsp;FROM THE 108TH DISTRICT COURT OF POTTER
COUNTY;

&nbsp;

NO. 98,818-E; HONORABLE DOUGLAS WOODBURN, JUDGE



&nbsp;



&nbsp;

Before CAMPBELL
and HANCOCK and PIRTLE, JJ.

&nbsp;

&nbsp;

MEMORANDUM OPINION

&nbsp;

Appellant Ricky W. Turner, an inmate
appearing pro se, filed a notice of
appeal in trial court cause number 98,818-E in the 108th Judicial District
Court of Potter County on April 18, 2011. He did not pay the required filing
fee, nor did he file an affidavit of indigence.&nbsp;
See Tex. R. App. P. 5 (unless
excused by law, filing fee in civil case due when item presented for filing);
20.1 (procedure for indigent in civil cases).&nbsp;
By letter of April 25, 2011, we notified Turner that “the filing fee in
the amount of $175.00 has not been paid.&nbsp;
Failure to pay the filing fee within ten (10) days from the date of this
notice may result in a dismissal.&nbsp; See Tex. R. App. P. 42.3(c).”&nbsp; Turner did not pay the filing fee or file an
affidavit of indigence.

Accordingly, we dismiss the
appeal.&nbsp; See Tex. R. App. P. 5, 42.3(c). 

&nbsp;

Per Curiam 

&nbsp;

&nbsp;





